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Plaintiffs recently communicated to me concerns they have with the delivery of mental health
care at the Perryville, Eyman, and Florence Complexes of ADC following their visits to these
facilities. They are concerned that the length of mental health treatment encounters are so short
(examples they provided were in the range of 2 to 5 minutes) as to be clinically insufficient and
to fail to legitimately satisfy the requirement of several mental health-related PMs that patients
be “seen.” Defendants also recently provided data to me showing that intake screenings
conducted at the Phoenix Complex are very brief (a mental health professional conducted 51
intake screenings in a single day). While at first blush these time intervals seem too short, review
of some of the medical records and discussion with ADC and Corizon psychologists leads me to
conclude that a fairer analysis of the appropriateness of the care delivered (i.e. whether the
patients were only perfunctorily “seen” or whether the patients were cared for in the manner
intended by the relevant PMs) requires more in-depth clinical review. Such review should look
not only at the content of the particular encounter, but also at that encounter in the context of the
patient’s care over the previous days or weeks. Such a clinical review would be most effectively
(and efficiently) performed by the mental health expert I propose to assist me.


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